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IN THE CIRCUIT COURT OF BOLIVAR CGUNTY, MISSISS`IPPI
DANNY ])YK_ES, INDIVI.DUALLY AND
ON BEHAI,»F OF THE ESTATE AND

` WRONGF`UI,, DEAT.`{-I BENEFICIARIES
()F JAMES A. ])YKES, DEACEASED PLAINT'{FFS

v. catlett Ne€_§?€l{i § “' FW

C`LEVELAND NURS[NG & REHABILITATION
CENTER and JOHN AND JANE IJGES I.~#X I}EFENDANTS

C'OMPLAINT
(Jt¢'r_}) Tr‘irl.l De‘mmtder!)

COMES `NC)W ti“ie l-"laintif't`1 Danny Dykes, lndividually and On Behalt` ol` 'l“he Estate and
Wrongful Death Benetieiaries of .lames A, Dykes, Deoeased and files this eivii action for
damages against the Det`entlantsi C]eveland Nttraing and Rehal:iiiitat`ton Center and .loltn and lane

Does l*f>={, l’tair'ltit"fs state the following in support of her Co:nplaint:

I. FARTIES
l. The Plaintit`f Danny Dyltes is currently a resident ol` Bolivar Cottnty, Misaiasippi.
2. ".l"he Detendant Clevelancl Nnraing and Relaabilitatien Center is a nursing horne

facility loeateel at 4036 l-lighway 3 East. Cleveland. C.levelanti l\lnrsing and Rehelailitation
Center can be served lay delivering a copy of the Cemplaint and Sttmmons to its registered agent,
Unitetl Corporate Servieea. Ine., 491 East Capitol Street, lOO»l\/I Heritage- i?>tlilcling, Jae-lcson,
Mieaisei;;i;ni 39201.

3. Defendant$ lt}l.‘tt‘l and lane Dee$ l-X are believed to fee either $teflf`, doetors, ttureee,
agents, tepresentatives, and/or agents of lDefenciant who may be liable te the Plainti'ffa by virtue
of their relationship to the claims alleged herein The identity of the unknown Det`endants cannot

be determined at this time. 'l`he Plaintiffs will amend their Cc)mplaint se as to identify and

 

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include one or more of the unknown Defendants at such time as their identities and
responsibilities are estal:)lit~;hedl
II. JURIS}`)ICTION AND VENUE
e. 'l"his flourt hasjurisdietien over the parties in the subject matter herein. This

Coui't is the proper Venue in the matter as certain of the Defenclants are located in Cleveland,

Misslsslppi.
5, Venue is proper in this county as set forth in Miss. Code Ann. § Il~ii»lit‘li).
6. 'l`he i*lairitit`f s provided proper notice to the l')et`endants prior to filing the

eomp]aint as required by Mis$lesl'ppl Ct)de A.nnotated Seot.'ton 15-1-36(15). See Noiiee l.e‘l;‘ler
attached hereto as iiixhibit “A.”
III. FACTUAL BACKGRGUND

'i, While a resident at l`_`iefendartt Cle\)eland l\lnrsing and Rehahilitation C`Jenter, Mr.
Dyl<es suffered from multiple fa.lis, dehydration, malnutrition/anorexia, skin
breakdowns/deoubitus uloel's, indignity, physical and emotional pain and suffering and Wrongi"tll
death.

3. M`r. .l.`Jyl<es was hospitalized on P`ebniaty 19, 2013, and on numerous other
occasions due to severe rnalnutrition and an.orexia. l\/ir, Dyltes also underwent wound care
treatment for numerous dectibitns ulcers and skin breakdowns Mr. Dyl<cs eventually died on
September 3, 2014.

snow
9. 'i`he averments of the foregoing paragraphs are incorporated herein as if set forth

at length holow.

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lCl. At ali pertinent times hereto, Cleveland Nursirtg and Rehabiiitation Center and
respective agents and/or employees of the same owed a nondelegable duty to .larnes Dyl<es to
provide professional healthcare services consistent with the nationally recognized minimally
acceptable levels of competency which they would be expected to possess and apply given their
qualifications and levels of expertise which they held themselves out as ;:)ossessing77 considering
the circumstances of the patients case. l`_?efendants breached said duty, actually and proximately
causing damages and death to lvlr. Dykes.

COUNT 1 d N`EGL].`GENCE AND NEGI\¢IGENCE P’ER SE

l l_ l“`laintiff incorporates herein by reference the averments contained in the
foregoing paragraphs of the Cornplaint..

ll At all times relevant hereto, Defendants actedJ or failed to aot, through their
agents, servants auditor employet:s, physicians, nurses, nurses’ assistants orderiies, and other
staff, and are iegally liable for all harm caused by their negligence to lames Dylces and his
wrongful death beneficiaries as set ibrth herein

l.`i. At all times relevant hereto, lDefendants, operated, controlled and supervised the
activities of ali individuals charged with the care of lames Dyl<es as averred herein. and had a
duty to assure their compliance with Federal and State statutes, criminal laws, regulations and
standards of care lfor an a care facility such as that ofCleveland l\lursing and i{ehahilitaticn
Center.

14. At all times relevant hereto, Defendauts’ actions and inactions, and those of its
employees, agents or servants, constituted breaches and violations of the standard of care which

are set forth in applicable federal and state regulationsl

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15. The negligence ofCleveland Nursing and Reltabiiitation Center includes but is
not limited tci

a. Failure to supervise and to train staff to provide adequately trained staff in sufficient

numbers in order to furniin reasonable, safe, efficient and effective care to J ames Dylces,

thereby increasing the rislt of harm to birn, which harm did cccur, due to failure to

supervise and rrlonitor the whereabouts and condition ot`l\dr. f)yltes;

b. r"ailure to adequate create and follow through with an adequate care plan, which

proximately resulted in the injuries and death to `Mr. l_`)yl-tes;

c. Negligence_,oet' se due to the failure of Det`cndants to comply Witll applicable State and

liederal l{egulations;

d. ii ailure to promulgate nules, regulations7 protocols or procedures so as to cause

employees and all persons conducting business within their respective premises to

provide care to lantes Dyl<es within accepted standa'rds; and

et F`ailure to document and monitor l\dr. Dyl<;e’s condition as required by the

Defendants‘ own policies end Mississippi and federal law; and

t`. Fraudulent and/or reckless concealment of lvlr. ll`)ykes’s wounds front him and his

family andfor concealment of the significance of said Wound and reckless disregard for

lVlrl Dyl<cs’s healthcare needs Which prevented decedent and Plaintiffs front obtaining

prompt care to mitigate the damages a_nd injuries alleged herein

g. Failtlt‘c to turn and reposition l\/lr. Dyl~tes in order to avoid development and '\.v¢:trsen'irigl

of decubitus ulcers.

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16. Atl ot` the negligence and other acl.ions, inactions and breaches by individual
cmnioyees of Cleveland l‘~lnrsing and Rebabilitatinn Center are also imputed to the Det`endams
by way cf respondeat stiperior.

l`/`. "I`he Def`endants acted with and demonstrated a will'ftli, wanton, and/cr reckless
disregard for the safety and well~being of James Dykes, and therefore are liable for his death
under the theory etn gross negiigcncc.

lS. l'_`)ue to the foregoing Plaintit`t`s request damages

COUNT II -» WRCJNGFUL DEA’I`H

19. Plaint.iffinccrporates herein by reference the averments contained in the
foregoing paragraphs oi` the Cornplaint,

20. 'I`he negiigence, actions or inactions and/or ornissions ot`the l'_)efendants was the
proximate cause ot` Mr. Dyires’ death This cause cf action is expressly allowed under Miss. Code
Ann. §l i~?»l§').

21. Due to the foregoing, Plaintit`t`s request damages

COUNT `III - l`~’.]i`,SPUNl`)HA‘I` SUP`EJRIOR

22. Plaintii`.t` incorporates herein by reference the averments contained in the
foregoing paragraphs ot` the Complaint.

23. Det`endants are responsible for the acts and omissions including the negligence
and gross negligence cf its employees and agents tinder the theory cf respondeat superior.

24. The negligence and gross negligence of l]efendants which breached the standard
ot` care owed to l\/lr. Dyltes, caused Mr. Dyl<es great harm, damage and death. Stlch negligence
and gross negligence is imputed to Defendants,

25. Dtte to the foregoing, Plaintit`t°’s request damages

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I)AMAGES
26. As a direct and proximate resuit of the negligence and other actions, inactions,

and omissions of the Uefendants, which are detailed herein, the Estate of.larnes Dyl<;es, deceased,
Danny Dyi<es, for and on behalf oi`thc Elstate ot` Jalnes Dy}<es, i)eceased, and the wrongful death
beneficiaries ot` Mr. Dyi<es have suffered the following damages:

a. Psychological and emotional trauma, distress, wony, anx'iety, and mental

suffering ot`Jalnes Dyl<es;

b. F‘hysical pain and suffering o‘t` James Dykes;

c. hess of enjoyment oflit`e of.lames Dylrcs;

d. Wrongt`ul death;

c. Loss ofthe love, companionship and society ot`J`ames Dylces by the wrongful

death beneficiaries of .l ames i'_`)yltes;

t`d aneral and burial capenses;

gd Punlti‘~'e damages and ali other damages aliowed by the laws ol"lhe State of
l\flississipni for the reckless disregard ot“l‘vlr. Dyl<es' condition and concealment ot`the danger to
Mrt Dyi<es and significance ot` his Wounde;

h. All other damages allowed by the laws ot`the State of l\r'l`ississippi.

DEMAND FOR RELIEF
W`HF:IREFORE, PREMISES CC>NSIDERED, Plaintit`fs pray that upon a trial of this

matter, ajudgment will be returned in excess of the minimum jurisdictional iirnits of this Court,

pins prejudgment interest7 and all reasonable costs

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OF COUNSEL.'

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DANNY DYK.ES, FOR AND

ON BEHALF (}F 'I`HE ESTATE A`ND
WRGNGFUL DEA'I`!'¥ HEN`H§FICIARIES
()F JAMES illt`if}“(]i_`,$5 DEACEASE`D

B »'-enf*'il'ba r"_'_'“i"~*‘ bin Lw
jr .lohn F. I-l.awlcins, Esquire
j

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ATTGR`NEY CERT[FICATE

l, l arn a competent adult resident citizen and an attorney licensed to practice in ail
Courts in the State of ivlississippi and is a member in good standing of the Mississippi Bar.

2. `i have reviewed the facts of the case as set forth in the preceding Cornplaint and
have consulted with at least one expert qualified pursuant to the l\/lississippi Rules ofCIivil
Procedure and the l\dississippi Rules of Evidence to give expert testimony as to the standard of
care or negligence and damages proximately caused thereby

3. 1 believe said expert is knowledgeable in the relevant issues as set forth in the
Complaint. Based on our review and consultation, there is a reasonable basis for the

commencement of the instant actions

 

 

